 

Case 8:17-Cr-00158-DOC Document 2 Filed 11/14/17 Page 1 of 2 Page |D Y

CASE SUMMARY_

 
  
  

Case Nun§`er
U.S.A. v. ina Ko ta

UNITED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CALlFORN|A

ma DefendantNumberl
w/ Yearofairrh 1969

 

 

[:] lndictment_‘ information

investigative agency (FBl, DEA, etc.)

 

DC|S/FB|

NOTE: A|l items are to be completed. information not applicable or'unknown shall be indicated as “N/A."

OFFENSE/VENUE

a. Offense charged as a :
|:] C|ass A Misdemeanor
|:| C|ass B Misdemeanor

[] MinorOffense [:| Petty Offensev
|:| Class C Misdemeanor Fe|ony

b. Date of Offense January-June 2015
c. County in which first offense occurred

 

Orange .
d. The crimes charged are alleged to have been committed in:

_ ` CHECKALLTHATAPPLY

 

|:| Los Angeles
Orange

[:| Riverside

[:] San Bernardlno

l:] Ventura

|:] Santa Barbara
{:| San Luis Obispo
l:] Other

Citation of Offense 18 U.S.C. Sec. 1001

 

 

l e. Division in which the l\/lAJORlTY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

[:| Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)

|:| Eastern (Riverside and San Bernardino) Southern (Orange)
RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously

No |:| Yes

filed and dismissed before trial?

|F YES 'Case Number N/A
Pursuant to General Order 16-05, criminal cases may be related

 

if a previously filed indictment or information and the present

case:

a. arise out of the same'_conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Re|ated case(s), if any: MUST MATCH NOT|CE OF RELATED

CASE N/A

 

PREVIOUSLY FlLED COMPLA|N`[

(`)

 

 

 

 

 

 

 

< w g
A complaint was previously filed on: l\I/A --.‘l l
. '“i z
Case Number N/A ' ,,¢'St. » ¢-_->
z '; 1 dc 'Y}
Charging N/A ;~ .... ;::
~ . :' ‘ l
l r"'; ' ..@ m
The complaint: |:] is stillpenkiing§ , 2 U
I:I was dismissed on: N/A z ‘;' ';-:~‘
Pnevlous couNsEL § 5 §
Was defendant previously represepted? ` " l:] NO [: Yes
lF YES, provide Name: N/A
Phone Number: N/A

 

. 'coMPLEx cAsE

'Are there 8 or more defendants in the |n'dictment/lnformatlon?
i:| Yes* \ No
Will more than 12 days be required to present government's
evidence in the case-in-chief? ‘ '
f:] Yes* No

'*AN OR|G|NAL AND l COPY (UNLESS ELECTRON|CALLY FlLED)
OF THE NOT|CE OF COMPLEX CASE MUST BE FlLED AT THE
`(|;l|l|\/ll§lic`*l'<lg§|NDlCTl\/lENT lS FlLED |F E|THER "YES" BGX lS

Supersedinq indictment/information

|:| Yes

superseding charge, i.e. ist, 2nd.

lS TH|S A NEW DEFENDANT?
This is the N/A

The superseding case was previously filed on:
N/A

Case Number

-No

 

N/A
The superseded case:

 

|:] is still pending before Judge/l\/lagistrate Judge
N/A

l:i was previously dismissed on N/A
Are there 8 or more defendants in the superseding case?
|:} Yes* l:} No '

Will more than 12 days be required to present government's
evidence in the case-in-chief? 4
l:] No

|:| Yes*

 

 

 

CR-72 (10/16)

CASE SUMMARY

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QNlTED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CAL|FORN|A

CASE SUMMARY

Was a Notice of Complex Case filed on the indictment or
|nformation? ‘

|:| Yes ` l No

*AN ORlGlNAL AND 1 COPY OF THE NOT|CE OF COMPLEX CASE
MUST BE FlLED AT THE TlMETHE SUPERSED|NG lND|CTlVlENT lS
FlLED |F E|THER "YES" BOX |S CHECKED. '

ls an interpreter require_d? {:] YES NO
lF YES, list language and/or dialect:

 

N/A

OTHER
l\/la|e |:l Fema|e
l:l U.S. Citizen Alien

A|ias Name(s) l\/latt Kolta

 

 

This defendant is charged in: All counts

f:] On|y counts: N/A

 

|:| This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

i:] This defendant is designated as "Special Case" per

18 USC § 3166 (b)(7).
ls defendant a juvenile? |:] Yes ‘ 'No
lF YES, should matter be sealed? |:] Yes [:i No

The area ofsubstantive law that will be involved in this case

includes:

|___\ financial institution fraud § public corruption
|:] tax offenses
|:] mail/wire fraud

l:| immigration offenses

_ l:| government fraud
\:] environmental issues
[:l narcotics offenses
[:] violent crimes/firearms l:l corporate fraud

Other false statement to federal agent

 

 

EXCLUDABLE TlME

Determinations as to excludable time prior to filing indictment/information EXPLAlN: N/A

CUSTODY STATUS

Defendant is not in custody:.
a. Date and time of arrest on complaint n/a: surrender

b. Posted bond at complaint level on: N/A
in the'amount of $ N/A

c. PSA supervision? |:| Yes l:| No
d. ls on bail or release from another district:
N/A

/
Defendant is in custody:

|:| State [:] Federal

a. Piace of incarceration:

b. Name of institutions N/A d

c. 'lf Federa|: U.S. Marshal's Registration Number:
N/A

d. [:| Solely on this charge. Date and time of arrest:
N/A

e. On another conviction: |:] Yes l:] NO
|F YE$; [:l State |:| Federal i:] Writ of issue
f. Awaiting trial on other charges: E Yes i:| NO
lF YES! '|:] State {:l Federal AND

Name of Court: N/A
Date transferred to federal custody: N/A

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 4 20 21 40

 

 

 

 

 

/s/
Date _~Molz-- Signature of Assistant U.S. Attorney
l\/lark Aveis
Prlnt Name
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